Case 2:05-cr-20078-.]PI\/| Document 62 Filed 07/01/05 Page 1 of 5 Page|D 75

QAO 199A (Rev. 6/97) Order Setting Conditions of Release Page l of 3 Pages

FlLED IN OPEN COUF'!T
we 7' {’S~OO§J

M

UNITED STATES DISTRICT CoU
T:ME' Q.'L 7/0”7

WESTERN Disrricc of 'PilYIN-i§"`s '

United States cf America -
ORDER SE'I`TING CONDITIONS

 

V. OF RELEASE
ARlANE GRANT Case Nurnber: 2:05CR20068-D; 2:()5CR20072-D;
JFC)SC.F~ zoo 73-0', moch aeo'!‘l
Defendant al`- 05 CR .;LOO `7'8 - D/

IT IS ORDERED that the release of the defendant is subject to the following conditions:
(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service cf any sentence imposed as

directed The defendant shall appear at (if blank, to be notified) 167 N. Main St.. 9“` floor, Courtroom #3

Place

690me onLQ_M-i_@mn`oerewa eeoc air \'.scavt

one and rim'e

Release on Personal Recognizance or Unsecured Bond
IT IS FURTHER ORDERED that the defendant be released provided that:
( \/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed
( ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($ )
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed

'*~1<= document entered on the dockets _ l mp c
’%ule 55 andlor 32(!:)) FRCrP on
msTRiBUnoN: couRT DEFENDANT PRETR]AL sERVICEs u.s. ATTORNEY u,S_ MARS

 

esso 1993 Qase/®;Q&aerm@@®r%$sdl%wtue[aocument 62 Filed 07/01/05 Page 2 oiEB_EagelDlB_
Additional Conditions of Release

 

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community v
IT lS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
( ) (6) The defendant is placed in the custody of:
(Narne of person or organization)
(Address)

(City and state) (Tel. No.)

 

 

 

who agrees (a} to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears

Signed:

 

Custodian or Proxy Date

( X ) (7) The defendant shall:
( ) {a) report to the Pretrial Services Office as directed ,
telephone number 901-495-1550 ,not later than .
( ) (b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated properry'.

 

( ) (c) post with the court the following indicia of ownership of the above-described property, or the following amount or percentage of the above-described

 

) (d) execute a bail bond with solvent sureties in the amount of $
) (e) maintain or actively seek empl oyment.

) (f) maintain or commence an education program

) (g) surrender any passport to:
) (h) obtain no passport

) (i) abide by the following restrictions on personal association, place of abode, or travel:

 

/-~/-\/-\/-\/-/\

 

{ } (j) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to:

 

 

(X ) {l<) undergo medical or psychiatric treatment and/or remain in an institution as follows: as directed by Pretrial Officer

 

( ) (l} return to custody each (week) day as of o’clock after being released each (week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

( ) {m) maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer.
( X ) {n) refrain from possessing a firearm, destructive device, or other dangerous weapons
( ) (o) refrain from ( ) any ( ) excessive use of alcohol
( X ) {p) refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
practitioner
( X ) (c_) submit to any method of testing required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited
substance Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or
any form of prohibited substance screening or testing.
( X ) (r) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer.
( ] (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) of releasel
( ) (t) participate in one of the following home confinement program components and abide by all the requirements of the program which ( }will or
( ) will not include electronic monitoring or other location verification system. You shall pay all or part of the cost of the program based upon your ability
to pay as determined by the pretrial services office or supervising officer.
( } (i) Curfew. You are restricted to your residence every day ( )from to , or { ) as directed by the pretrial
services office or supervising officer', or
( l (ii) Home Detention. You are restricted to your residence at all times except for ernployment; education; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or
( ) (iii) Home lncarceration. You are restricted to your residence at all times except for medical needs or treatment, religious services, and court
appearances pre-approved by the pretrial services office or supervising officer.
( } (u) report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any arrest, questioning, or traffic stop.
( X ) {v) refrain from wearing Shelby County uniform or accouterment that would that would signify employment with a law enforcement agency

 

( )(W)

 

 

( }(X)

 

 

DISTR_IBUTION: COURT DEFENDANT PRETRIAL SERVICES U.S. ATTORNEY U.S. MARSHAL

- _ _ - ' 77
QAOWC &Ssczam2.0 cr20078 .]PI\/| Document 62 Filed 07/01/05 PageSq;g§ F;age[lfD

3) A vice ofPenalties , . . 3 Pages

Advice of Penalties and Sanctions
TO THE DEFENDANT:
YOU ARE ADVISED OF TI~IE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fme,
or both.

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of n ot more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor Thi`s sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witrress, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, infonnant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,(}00 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted

Aeknowledgment of Defendant

l acknowledge that l am the defendant in this case and that l am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed I am aware of the penalties and sanctions set forth
above.

n , . _ _
//€C¢Mtt world ‘//JF' ii ‘~797.5
Signat'ure_of Defendant
/tb 05 patriarca/zim @r/€
Address

zwequaca rio '725» 12 ca
Cityrand Staf€ Telephone

Directions to United States Marshal

( ) The defendant is ORDERED released after processingl
The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and!or complied with all other conditions for re e. The defendant shall be produced before the appropriate
judge at the time and place specified, if still in custody.

  
 
 

Date: Julv 1, 2005
Sig ature of Judicral Officer

 
 

.Iudge Bernice B. Donald
Name and Title of Judicial Officer

DISTRIBUT!ON: COURT DEFENDANT PRE.TR]AL SERVICE U.S. ATTORNEY U.S. MARSHAL

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:05-CR-20078 was distributed by faX, mail, or direct printing on
.iuly 6, 2005 to the parties listed.

ENNESSEE

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

.lavier 1\/1. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

1\/lemphis7 TN 38103

Paul .l ames Springer

LAW OFFICE OF PAUL J. SPRINGER
100 N. Main Bldg.

Ste. 301 5

1\/lemphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

Michael Edvvin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

1\/lemphis7 TN 38103--238

Larry E. oCopeland

OZMENT COPELAND & HAYS
138 N. Third St.

2nd Floor

1\/lmephis7 TN 38103

Case 2:O5-cr-20078-.]PI\/| Document 62 Filed 07/01/05 Page 5 of 5 Page|D 79

Lee Hovvard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

1\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

